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         1'hom~s P. Rile-, S13N 19d70fi                                           1~Z3 ~;~
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                                                                                             12   Pr"9 i2: 35
   z     LACY OFr10ES OF7'IIOn9AS 1'. RILEY,P.C.
         First LibrUry Squarc
   3     l l la Frcmont Avcnuc
         South PAsudcni~, CEO 91030-3227
   a
        Tcl: 626-799-)797
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        FAx: G26-799-9795
        TI'RLA~V@~tt.nct
  s
        Attorneys for Plaintiff
        INNO~'AT1VC SPORTS MANAGEMENT,INC.
        d/b/a INTEGI2ATFU S!'ORTS MEDIA
  8

  9                                  UNITED STATES DISTRIC"I'COURT
                                CI;NTItAL DIS7'ltICT COURT OF CALIFORNIA
  ~o
                                            ~VI;ST[;RN DIVISION
 ~t
 12      Innovative Sports vlanagemcnt, inc., d/b/a             Case No.: 2:22-cv-07303-TJf~-~C..S~C
         Integrated Sports Mcdin,
 13
                                                                PLAIN'I'1FF'S RI;SPONSFS TO
                           Plaintiff,
 ~a                                                             DTFI;NllANT'S REQUEST SPECIAL
                                                                INTCR1tOGATORli;5
 15                             v.


 16      Gerado VAldiviA,
 n
                           Defendant.
 ~s
       YROPOUNUING 1'AItTY: llefendant Gerardo Valdivia, indi~~iduall~• and d/b/a Tondero
 19                         1'eru~~ian Cuisine
 zo
       RESPONDING PARTY:                 lnno~•~tive Sports ~ti~an:~gcmcnt, Inc., d/b/~ Integrated Sports Media
 z~
       5E'f NUMBER:                     ONE(l)
 zz
 23
              Pursuant to the Federal Rules of Civil Yroccdure Rule 3~, Plaintiff INNOVATIVE SPORTS
 2a
        I IANAGf MI:N"f,[NC. d/b/a IN"1'I;GRA"fFD SPORTS i~91:1)lA ("1'lainti(]") hereby responds to
        ~
 zs
        Interrogatories ofJorbe Daniel Tavcma, individually and d/b/a !'atagonia Fmpanadas("Defendanf').
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        ~/
        /
 27
        ~/~
 28     /~ /



       'I.AIN'I'IFF'S RL•'SPONSES TO ll[:FF•.NDAN7"S RF.QUES7'SPt?C1AL !N'fGRROGATORIf:S
       :ASE NO:2:22-cv-07303-'fJl i-PLA
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                                                               IN"1'I2U1)lICT10N

                             Plaintiff has not completed its discovery or preparation for the trial of this matter.
                      Furthermore, Plaintiff has not completed its review and analysis of documents thus far gathered in
                      the course of discovery. Accordingly, these responses are made without prejudice to Plaintiff's right
                      to present additional facts or contentions based upon information and documentation hereafter
           s
                      obtained or evaluated.
          z                  Plaintifl'specifically reserves the right to supplement or amend these responses or present
          B         additional facts, contentions and documents at a later date, including the right to raise any applicable
          s         objections, in light ofdevelopments in the law or the underlying claims and any relevant information
      ~o            or documentation that Plaintiff subsequently may obtain.
      71                    Plaintiff has made a reasonable effort to respond to each interrogatory as it understands and

      az        interprets each said interrogatory. If Defendant subsequently assert a different interpretation,

     13         Plaintiff reserves the right to supplement its responses and/or objections.
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          P!.AINTIFF'S RESPONSES TO DEFENDANT'S
                                                REQUEST SPECIAL MTERROGATOR[ES
          C ASE NO:222-cv-07303-TJE[-PLA
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                                                          (:1?\I~:ItAi,()13.1!?('"1'!()Nti


                            The following Fcncral objections ~~~ply to c.ich zind every resronsc 6ivcn herein, and arc
                 incorporated into 1'laintil'i`s rrspnnscs to rush inlcrro~tUory as il'scl forth f'uUy in each and every one
                 of the follo~vine responses:
                           1.      1'l~iintiil~obj~cts to any instructions or directions in the interrogatories to the extent
          s
                that they are ccmtrary tc~ the provisions al'the (~edcral Rules of Civil I'rocedurr Rule 33. Plaintiff is
                not obli~:atcd ta, and decline to, comply ~~~ith any instructions or dirccti~ns that conflict with said
          8
                Rules to the extent that they purport to rcyuirc any actions beyond or different from those set Forth in
      9
                Rule 33.
      ~o
                           2.     Plaintiff objects to each and c~~ery interrogatory to the extent that ii calls for the
     ~i
               disclosure of inforn~ation protected by tine attorney-client privilege andlor the attorney work product
     ~z        doctrines and/or other applicable privilege or immunity; I'Izintiff 4vi11 not disclose such information.
     13                3.         Plaintiffobjects to each interrogatory to the extent that it calls for the disclosure of
     14        confidential information protected by the Plaintitl's right to privacy and right to maintain his
     15        confidential information.

 is                    4.        Plaintiff objects to the Definitions to the extent they impose upon Plaintiff a duty of
               disclosure or other obligation not required by the Federal Rules of Civil Procedure or Local Rules of

 ~s            the United States District Court for the 1h~estern District of California.
                      5.         Plaintiff objects to t11e definitions of"YOU"and "YOUR" as being overly broad,
 19
               induty burdensome, and vague and ambiguous and to the extent it intends t~ impose upon }'l~intift~
 zo
               he duty to search for or identify documents in the possession of individuals or entities other than
2~
              'laintiff and/or seeks information protected by the attorney-client privilege and/or work product
22
               loctrinc.
23
                     6.         In statinb the above objections, Plaintiff'does not waive, and hereby reserves, any and
24
               I1 of its rights and further objections, Plaintiff further responds as follows:
25         ~

26         ~

27        /

28        ~




          PLAINTIFF'S RESPONSES TO DEFENDANT'S RCQUEST SPCCIAL
                                                                            (NTF.RROGA'fORIL'S
          cnse: No:z:22-~~-0~3o3.T~E~.r~ ~
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                        PLAIN77FF'S RrSPONS~S TO UI:FI?NI)AN"1''S IN'1'(;RROCATOItll?S


             1)I:FENDANT'S 11'TI~.I2ROCATnR1' n'O. l:
                    Please state the basis for your bclicf that the dcfcndant, Gerardo Valdivia, had the ribht and
            ability to supervise the activities of'1'ondero Peruvian cuisine.


            I'LAIN7'IFF'S RESPONSE TO lll?FI:NllANT'S INTEIt1ZnGATORY NO. 1:
                   Plaintiff refers propounding party Defendant to the Complaint filed in this action.
      8

      9
           ~ llf:FLI~'DANT'S 1N7'FItROGA'I'OIt1' NO.2:
     so
                   Please describe in detail the alleged unla~+~fii] interception, receipt, and publication of the
     > > ~I Plaintiffs program.
     ~z
  13       PLAT\'TIFF'S ItLSPONSI~,TO Df~;HI;\DAN7''S IN7'I~;RRUCATORI' NO.2:
 ~a                Objection. Defendant's Interrogatory No. 2 seeks information readily available to himself.
 15        Plaintiff further directs Dcfendani to Plaintiffs Initial Disclosures, scn~ed on December 12,2022.
 16

 ~~        llEFF.NDANT'S INTCRKOCA7'U121'NU.3:

 t8
                  Please provide all documents and communication related to the alleged unlawful interception,
           receipt, and publication otthe plaintiffs program.
 ~s
zo
           ?LAIN7'IFF'S ItESPONST 7'O 1)I~,FENUA\T'S IN"I'EKKOGA'1'ORY n`O.3:
2~
                  Objection. INNOVA"17VE SPORTS MANAGL'ML'N"1', INC. objects to each and every, all
2z
           end singular, of the items listed as Defendant's lnterrogatoty No. 3 as follows: Attorney-Client
23
           privilege; work product privilege; the privileges accorded under the United States Constitution and the
24
          'onstitutions of one or more of the fifty states, the privileges accardcd under the rights of privacy of
25         gird parties, including but not limited to, TM~OVATIVL SPOK'1'S MANi1GI:MI:N'f, INC., the
26         rivileges accorded other third parties, including but not limited to, those persons and parties who are
27         sted and described in the documents herein; that the books, letters, papers and files, and each of the
zs ' une, constitute proprietary information, constitute a trade secret, constitute information which
           JNOVATIVE SPORTS MANAGEMENT, INC. has a reasonable expectation of privacy and is

           .AINI'IFF'S RESPONSES TO DEFENDANT'S R~QU[;ST SPACIAL (N't'F;RROGATORIES
           \SF. h0: 222-cv-07303-TJl I-PI.A

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     Case 2:22-cv-07303-TJH-KS Document 44 Filed 05/12/23 Page 5 of 22 Page ID #:450




                 subject to a right of privacy; constitute secrets, formulas, trade secrets, and business information.
      z          INNOVATIVE SPORTS MANAGC:MCN'f, INC. fi~rlhennorc objects on the basis that the document
      3          request is overly broad, and morcovcr, socks documents which arc extrcmcly vol~uninous.
      a          INNOVATIVE SPORTS MAN~1Gl~Ml:N'f, 1NG also objects that some or all of these beaks, letters,

      5
                 papers, and files, arc available to the propounding party through other and altcmativc sourcrs,
                 i ncluding but not limited to, third parties herein. INNOVA"1'IV~ SPORTS MANAG(;MF~N7', INC.
      s
             also objects on the basis of the rights of privacy of third parties in that the person and parties herein
             would leave a reasonable expectation of privacy thereunder. INNOVA~rlvr-. SPORTS
     s
             M ANf1GCMENI', tNC. also objects on the basis that the interrogatory seeks information that is
     9
            irrelevant and not proportional to the needs ofthe case.
     ~o

            DEFENDANT'S I1~7'EItItOGATOKY NO.~t:
 iz                    Please pro~~ide the names and contact inforn~ation oT any individuals with kno~vlcd~e of the
 13        alleged unlawful interception, receipt, and publication ofthe plaintiff s program.
 14

 15        1'LA1N7'IFF'S IZI:SI'ONSG.1'O ll1sFENllAN'1''S IN7'EItROCATORY NO.4:
 ~s                    Objection. The information requested are equally available to the propounding party.

 n
18
           UEFENllAI~'`I''S Il~'TT;RROGA"1'Oltl' NO.S:

19                    Please provide name,telephone number,addresses and a license of your Investigators such as
20         Mr Valentino
z~
          PLAI1~'TIFF'S RT:SI'ONS1;TO DI~.1+FNllAN7''S INTI:ItIZOGATURY NO.S:
22
                      Objection. INNOVATIVE SPORTS MANAGEMENT, INC. objects to each and every, all
23
          end sing~~lar, of the items listed as I?efendant's Interrogatory No. 5 as follows: Attorney-Client
24
          privilege; «-ork product privilc6c; the privileges accorded under the 1lnited States Constitution and the
25
          constitutions of one or more of the fifty states, the privileges accorded under the rights of privacy of
zs
          herd parties, including but not limited to, INNOVATIVE SPORTS MAi~IAGCMENT, INC., the
z~
          privileges accorded other third parties, including but not limited to, those persons and parties who arc
zs        istcd and described in the documents herein; that the books, letters, papers and files, and each of the
          ame, constitute proprietary information, constitute a trade secret, constitute information which
           9,AINTIF~'S RIiSPONSGS TO D[:I'GNUAN7"S REQUCSI'SPECIAL
          'nSE NOS 2:22-cv-07303-TJl1-PI,n                         1NTF.RROGATORIf:S



          ~il~                                                     ~
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            INNOVATING SPORTS MANAGI:MCN'I', INC. lies a rcasonable cxpcctation of privacy and is
       2    subject to a right of privacy; constitute secrets, formulas, trade sccrcts, and business information.
      3     INNOVATIVE SI'OR'1'S MANAGCMENT,INC. furthermore objects on the basis that the doc~unent

      4     request is overly broad, and moreover, seeks documents which arc extremely voluminous.

      5
            INNOVATIVE SPORTS MANAGEML-'N"t,[NC. also objects that some or all of these books, letters,
           ~ papers, and tiles, arc available to the propounding party throubh other and alternative sources,
      s
            including but not limited to, third parties herein. INNOV/1TNF. SPOK'f'S MANAGF;MI:N"f, [I~'C.
            also objects on the basis oi~ the rights of privacy of third parties in that the person and parties herein
      e
            would    have a reasonable expectation of arivacv thereunder. INNOVATIVT; SPQR"fS
     9
            1~IANAGEMENT, INC. also objects on the basis that the interrogatory seeks information that is
     ~o
            irrelevant and not proportional to the needs ofthe case.
  i~
  ~2        llEFENDANT'S iNTI~RROCATORY \O.6:
 13                 Please describe ~~~hen did you sign an agreement with GOL"I'V I.A"I"INAMI:IZICA S.A in
 is        detail
 15

 ~s        I'LAINTlFF'S R~SI'ONSI:'1'U DI;FI;NllANT'S IN'1'LRROGATURY \'O.6:
                    Objection. Defendant's Interrogatory No.6 is unintelligible.

 78
                    INNOVATIVE SPORTS MANAGEMENT, INC. fiirther objects to each and every, alt and
           singular, of the items listed as I~cCendant's Intcrrog~tory No. G as follows: Attorney-Client privilege;
 19
           work product privilege; the privileges accorded under the United States Constitution and the
 20
           Constitutions of one or more of the iit3y states, the privileges accorded under the rights of privacy of
2~
           third parties, including but not limited to, IIVI~'OVA1'IV}: SPQR"TS MANAGEMENT, INC., the
zz
           privileges accorded other third parties, including but not limited to, those persons and parties who are
23
           fisted and described in the documents herein; that the books, letters, papers and files, and each of the
2a         game, constitute proprietary information, constitute a trade secret, constitute information which
25         NNOVATIV~ SPORTS MANAGEMCNT, INC. has a reasonable e::pectation of privacy and is
zs         subject to a right oi' privacy; constitute secrets, formulas, trade secrets, and business information.
z~         NNOVAT[VE SPORTS MANAGCMENT,INC. furthermore objects on the basis that the document
28         eq~iest is overly broad, and moreover, seeks documents which arc extremely voluminous.
           [~iNOVATIV~ SPORTS MANAGEMENT,INC. also objects that some or all of these books, letters,

          YLAiI~7'1FP'S RGSPONSGS TO DEFENDANT"S REQUEST SP~CfAL M7'ERROGA7'ORIGS
          CASE NO: 2:22-cv-07303-TJH-PLA

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          papers, and files, are available to the propounding party through other and alternative sources,
          including but not limited to, third parties herein. INNOVA"I'1VI: SPORTS MANnGI:MI:NT. INC.
         also objects on the basis of the rights of privacy of third parties in that the person and parties herein
     4   would have a reasonable expectation of privacy thereunder. INNOVAT1Vl; SPQR"I'S

     s   MANAGEMENT, INC. also objects on the basis that the interrogatory seeks information that is
         irrelevant and not proportional to the needs ofthe case.
     s

         llEFEND:~n7''S IV'T1?1t1ZnCATORY \'O.7:
     8

     9
                 Please describe in detail ho~v you contacted GOLTV I.ATII~IAMERiCA S.A. in Paraguay

 ~o              INNOVA'1'IVr Sl'OIt"1'S MANAGI;MI:N'I', INC. Curther objects to each and every, all and
         singular, of the items listed as 1)cfcndant's Interrogatory No. 7 as follows: Attorney-Client privilege;
 ~2      work product privilege; the privileges accorded under the United States Constitution and the
                                                                                                                 of
 13      Constitutions of one or more of the fifty states, the privileges accorded under the rights of privacy
                                                                                                          the
 ~a      third parties, including but not ]invited to, INNOVATIVE SPORTS MANAGCMENT,INC.,
 15      privileges accorded other third parties, including but not limited to, those persons and parties who
                                                                                                                of
 16      are listed and described in the documents herein; that the books, letters, gapers and files, and each
         the same, constitute proprietary information, constitute a trade secret, constitute information ~~~hich
 ~a
         INNOVATIVE'SPORTS MANAG[:MEN7',iNC. has a reasonable expectation of privacy and is
 19
   subject to a right of privacy; constitute secrets, formulas, trade secrets, and business information.
zo
   [NNOVATIVE SPORTS MANAGEMCN"I',INC. furthermore objects on the basis that the
z~                                                                                                               s.
         document request is overly broad, and moreover, seeks documents ~i~hich are extremely voluminou
zz
         NNOVATIVE SPORT'S MANAGEMEN7',1NC. also objects that some or all of these books,
23
         etters, papers, and files, are ~vailablc to the prapoundin~ party through other and alternati~~e
24
         sources, including but not limited to, third parties herein. 1NNOVA"I'IVE SPURTS
25
         v1ANAGEMEN"I',INC. also objects on the basis ofthe rights of privacy of third parties in that the
26
         icrson and parties herein would have a reasonable expectation of privacy thereunder.
z~
2e       NNOVAZ'IVC SPORTS MANAGCML'NT,INC. also objects on the basis that the interrogatory
         eeks information that is irrelevant and not proportional to the needs of the case.

         LAINTI~F"S RESPONSES TO DF,F[:NDAN1"S Ri:QUFS'I'SPF.CIAI. I~ITERROGAI'ORIES
         ASF NO: 222-cv-07303-'1'Jtl-PI.A

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           PLAINTII~r'S R(sSPONSI:TO U(~,FI;NDAN'1''S [N"i'i?ItItOGATORY NO.7:
      2            Objection. Defendant's Interrogatory No. 7 assumes facts not in evidence.
      3

      a    DEFENDANT'S IN7'i?ItItOCA7'Uit1' NO.B:
                   Please describe in detail who is the contact person in Paragu7y for GOI.TV I,A'I~INAMERICA
     5
           S.A
     s

           I'LAlNT1FF'S RI?Sl'O~'SI: TO U(:FI;NllANT'S INTI;RROGATOItY NO.8:
     8
                 Objection. INNOVATIVT: SPORTS MANAGEMEN"T, INC. objects to each and every, all
     s
          and singular, of the items listed as Defendant's Interrogatory No. S as follows: Attorney-Client
 ~o
          privilege; work product privilege; the privileges accorded under the United States Constitution and the
          Constitutions of one or more of the lii'ty states, the privilebes accorded under the rights of privacy of
 12       third parties, including but not limited to, IiVNUVA"1'[VE SPORTS MANAGL'MEI~'T, I~IC., the
 13       privileges accorded other third parties, including but not limited to, those persons and parties ~vho are
 is       listed and described in the documents herein; that the books, letters, papers and files, and each of the
 15       same, constitute proprietary information, constitute a trade secret, constitute information which
 ~s       INNOVATIVE SPORTS MANAGEMENT, INC. has a reasonable expectation of privacy and is

 n        subject to a right of pri~~acy; constitute secrets, formulas, trade secrets, and business information.

 ~s       INNOVATIVE'• SPOK7'S MANAGI:~viL•'NT, 1\'C. furthcrniore objects on the basis that thr document
          request is overly broad, and moreover, seeks documents which are extremely voluminous.
 19
          INNOVATI~~C SPORTS MANAGEMEN"T,INC. also objects that some or all of these books, letters,
zo
          papers, and files, arc available to the propounding party through other and alternative sources,
2~
          including but not limited to, third parties herein. ]NNOVATIV~ Sl'OR"1'S MANAGEMENT, INC.
zz
          also objects on the basis of the rights of privacy of third parties in that the person and parties herein
23
          ~voulci have a reasonable e~peetation of privacy thercundcr. IM`'OVATIVr SPOR'I~S
24
          VIANAGI;Mf:NT, [NC. also objects on the basis that the interrogatory seeks information that is
25        rrelcvant and not proportional to the needs of the case.
zs        //
z~        //
Ze        //


          LA(1`T1FP',S~JZESPO~ISES'f0 DF.FENDANI"S RI:(~Uf:S"I~ SPECIAL IN'ftiRROGAl'QRIES
          ASIi NO: 2'22-cv-07303-'1'JI I-PI.A
                  ' ~ ''
                                                                  8
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 I)F.FEI~ 1)AN"I''S INTI?12120CA'i'OItl' nn.9:
        Please describe in detail ho~v 1on~; you havc a relationship with GOI,TV I,ATINAME:RICA
S.A in Paraguay


PLAINI•~rr'S 1t1:S1'ONSI? TO lll;l~I?NI)AN't''S IN7'FRKOGATORY NO.9:
        Objection. [NNOVA"1'IVI: SPORTS MANAGL:VII:N"T, INC. objects to each and e~~ery, all
and singular, of the items listed as Def'endant's Interrogatory No. 9 as 1'allo~vs: Attorney-Client
privilege; work product privilege; the privileges accorded under the United States Constitution and the
Constitutions of one or more of tl~e fifty states, the privileges accorcicd under the rights of privacy of
third parties, including but not limited to, [NNOVATIVI: SPORTS MANAGEMT'NT, [NC., the
privileges accorded other third parties, including but not limited to, those persons and parties ~vho are
listed and described in the documents herein; that the books, letters, papers and files, and each of the
same, constitute proprietary infornlation, constihrie a trade secret, constitute inFormation which
1NiVOVATIVC SPOR"I'S MANf1G1:MLN"1', INC.. has a reasonable expectation of privacy and is
subject to a right of pri~~ac~~; constitute secrets, lorniulas, trade secrets, and business information.
INNOVA"1'IVE SPORTS A~ANAGE~~IEN'1', INC. fi~rthcrmorc objects on the basis that the document
request is overly broad, and moreover, seeks documents which arc extremely voltiminotts.
TNNOVAI'IVE SPORTS MANAGEMENT,INC. also objects that some or all of these books, letters,
papers, and files, are available to the propounding party through other and alternative sources,
including but not limited to, third parties herein. INNOVA'1'lVC SYUIt"1'S MAI`'f1Gl:M~NT, 1NC.
alsv objects on the basis of the rights of privacy of third parties in that the person and parties herein
would    have a reasonable expectation of privacy thereunder. Ih`NOVn"fIVt: SPORTS
MANAGEMENT, II`'C. also objects on the basis that the interrogatory seeks information that is
irrelevant and not proportional to the needs ofthe case.


llE~;FFI~'llANT'S IN'I'1~:ttROGATORY NO. 10:
        Plcasc indicate with details if you speak Spanish
///
///
///


PLAINTIFF'S R~SYONSL•'S TO DCFF•.NDANT'S REQUEST SPGC[AL WT[;RROGATORIES
CASE NO: 2:22-cv-07303-771 i-PI.A
     Case 2:22-cv-07303-TJH-KS Document 44 Filed 05/12/23 Page 10 of 22 Page ID #:455




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                      Objcc:li~~ri. 1NNUVA'(l V1: S('111Z7 5 M/1tJ/1(;l;Ml;t~'7', I~~:C. ~~bjcc:ts tt~ each and every. all
                                                                                                                            icnt
            tirul sii~~;ular, ul' the ilcmti lislccl cc~ 1)ctcnclanl's Intrrr~,~atury Nu. IU as fuUuws: Attorney-C:l
                                                                                                                             the
      a     ~~rivilcl;c; work nr~~clucl rrivilc~;e:; the privileges ~~ccurdc:d under the Ilnited Stites Ccrostitution and

      J
            C'crostiluticros cif erne car m~~rc cif tlic lilty :~Iatcs, the privilebc;s ~ccurdcd under the ri6hts of privac}~ of
                                                                                                                        the
            third rartic:s, inclucliti~, but nut limilecl tc~, INN(1VA7~IVl; Sl'UlZ7S MANAGl;.U11;;~:"f, 1\'C.,
     a
            nrivilc~,cs ~icccrrdcel c~tlicr third nartics, includin6 but nut limited tu, those persons ancf parties who are
      r
                                                                                                                      of'the
            l itilecl anc) eiescribed in the cic,cuments herein; that the boc,ks, letters, papers and files, and each
     8
                                                                                                                      ti
            tian~c, ccroslitulc prc~rricl~~ry inli,rmatiun, constitute a trade secret, cunstitulc information ~;hich
     9                                                                                                      and is
           I NNOV/17~IV1: S('Ult'I S MnN/1(;I:y11;N"1~, ItvC. has a rcas~mablc rxpcctation of pri~•acy
 ~o                                                                                                   information.
           subjccl to a right c,l' privacy; constitute secrets, lurmulas. trade secrets. and business
 ~~                                                                                               document
           WNOVn7'IVI: S1'UK'1:S MAN/1(;(:~V1I:N7, 1NC. f'unhermorr objects on the basis that the
                                                                                               voluminous.
 12
           r~qucst is c~vcrly braid, and mc~rcuvcr, seeks documents ~ti~hich arc extremely
                                                                                                       letters,
 13        INNUV/1'17V1; SI'Olt"I~S MANnG1:Ml:N"!', INC. also objects that some or all of these books,
                                                                                                     sources,
 ~a        ~a~crs, and files, arc available to the prupoundin~ party through other anti alternative
                                                                                                                IBC.
 15        includin6 but nc~t limited tu, third parties herein. 1,ti`NOVA"(~lVf: SPUR"1~S ~tA~AGI:~fFti"f,
                                                                                                               herein
 t6        also objects cm the basis of the rights of rrivacy o(' third parties in that the person and parties
           would     have a       reasonable expectation           of~ privacy thereunder. (.ti\OVA"1'IVI: SI'OR~TS

 ~e        M/1NAGI:MI:N'f', 1NC:. also objects on the basis that the interrogatory seeks information that is
           irrcicv~nl and not proportional to the needs ofthe case.
 19

20
           I)l~;F'(~,nllAN'1''S Ih7'1~;1t1ZU(;A"1'OIlY 1'!). l l:
21
                  'lease indicate with detail il~you read Spanish
                  !
22

23
           ~~,nih~~~~i~~j~~S )l(•:~i~~~h~S~~:'r~~ ui•:~~'r~:h~un:~~~r~s iti~r~•:~titc~c~t~'ro~t~~ `o. >>:
2A
                   Objection. !NNOV/1"17V1; SPO1t"('S MAh'AG(:,~11:ti'7', 1\C. objects to each and e~~en•. all
25         end sinbular, o!' the items listed as Defendant's lnterro~;atory I~'o. 1 1 as follows: Attome~•-Client
ZE         ~rivilcbe; work product privilebe; the privilcbcs accorded under the United States Constitution and the
27        'institutions of one or more of the fifty states, the privilebes accorded under the rights of privacy of
2a         gird parties, includinb but not limited to, INNOVATIVE SPORTS MANAGEMENT', INC., the
           riviic~cs ~ccordcd other third parties, including but not limited to, those persons and parties «•ho aze

           .AffY'(IFI~'S (ZIiS('!)NSI:S'fU!)!i(~I:NOAN"f'S IZIiOUIiS"I 5PIiCIAI, IfY7~(iRRO(iATOR1ES
           1tili NU: 2:22-cwU7303-17J1•Pl./1

                                                                      ~n
     Case 2:22-cv-07303-TJH-KS Document 44 Filed 05/12/23 Page 11 of 22 Page ID #:456




             listed and described in the documents herein; that
                                                                the books, Icttcrs, papers and files, and each of the
     2       same, constitute proprietary information, constitute a trade secret, constin~tc information which

     3 ~I    INI~iOVA'I'IVI: SPUR"1'S MANAGI:MI~N`f, INC. has a reasonable e~tpectation of privacy and is

     a       subject to a right of~ privacy; constitute secrets, Iormulas, trade secrets, and business information.

     5
             INNOVATIVE S!'URTS MANAG~?MliN"t, INC. Curthcrmore objects nn the basis that the document
             request is overly broad, and moreover, seeks documents which are extremely voluminous.
     s
             INNOVAI'IVC SPORTS MANAGL'MCNT,INC. also objects that some or all of these books, letters,
             papers, and files, arc available to the propounding party through other and alternative sources,
     a
             including but not limited to, third parties herein. INNOVATIVE SPORTS MANAGEMEN"f, INC.
     9
             also objects on the basis of the rights of privacy of third parties in that the person and parties herein
 ~o
             ~t~ould    have a reasonable expectation of privacy thereunder. INN(?VA'I~1VI: SPORTS
 ~~
             MA1'AGEMF~N"I'. 1NC. also objects nn the basis that the interrogatory seeks information that is
 t2
             irrelevant and not proportional to the needs ofthe case.
 13

 14          1)EFENllA;\'"I''S INTI:K1tnG~1TOKti' NU. l2:
 15                    Please indicate the name address and telephone number of the person «rho contacted you

 ~s         from GOLTV LA1'INAMI;RIC~1 S.A


            PLA1:~1•r~~r-',S lt)?SPONSt: 7'O DI:N'END:~n~r'S IN"l'1~.1tROC:17'O121'\O. IZ:
 18
                       Objection. INNOVATIVE SI'Ult'I~S N1A~IAGEN1ENl~, INC. objects to cacti and e~~erv, all
 19
            and singular, of the items listed as Defendant's Interrogatory No. 12 as follows: Attorney-Client
zo
            privilege; work product privilege; the privileges accorded under the ilnited States Constitution and the
z~
            Constitutions of one or more of the fifty states, the privileges accorded under the rights of privacy of
22
            third parties, including bui nvt limited to, INNOVt1TIVE SPOR"I'S MANAGEMENT', INC., the
23
            privileges accorded other third parties, ineludin~ but not limited to, those persons and parties ~vho arc
2a          listed and described in the documents herein; that the books, letters, papers and files, and each of the
25          same, constitute proprietary information, constitute a trade secret, constitute ini'ormation ~~~hich
2s (I~'NOVA"I'1VL SPOR"1'S M~1NAG~MI:NT, INC. has a reasonable expectation of privacy and is
2~          subject to a ribht of privacy; constitute secrets, formulas, trade secrets, and business information.
Zs        [NNOVATIVE SPORTS MANAGEMENT,INC. furthermore objects on the basis that die document
            -equest is overly broad, and moreover, seeks documents which arc extremely voluminous.

         'I.AINTIFI''S RliSPONSfiS 1~0 UI:Ff:NDANT'S REQUEST SPFCIAI, fN'I'ERROGA'fOlt(ES
         'AS[:\U:2:2?-cv-07303-77H-NLA
Case 2:22-cv-07303-TJH-KS Document 44 Filed 05/12/23 Page 12 of 22 Page ID #:457




      INNOVATIVE. SPQRTS MAN~IGI:MI:N'f, INC, also c~bjccts that some car all of thcsc books, lcucrs.
      papers, and files, arc available to the propounding party through other and alternative sources,
                                                                                                            INC.
  3   including but not limited to, third parties herein. INNOVA'fIVL' SPORTS MANAGEMENT,
                                                                                                   parties herein
  4   also objects on the basis of t)ic ribl~ts of privacy of third parties in that the person and
                                                                                              SPORTS
      would have a reasonable expectation of privacy thereunder. INNOVATIVE
  5
                                                                                    information that is
      MANAGFti1TN"1', II~'C. also objects on the basis that the intcrra~atory seeks
  s
      irrcic~~ant and not proportional to the needs of the casr.
  7

 8
      DI;FI:NDAN"1''S IN7'1?1tROCA7'ORY NO. 13:
  9                                                                               ~vho contacted you
              Please indicate the name address and telephone number of the person
 ~o
      with G4LTV LATINANI~RICA S.A in Paraguay


                                                                                'ORl'10. 13:
 12  PLA11"!'IFF'S RI?SPONS(~. Tt)1)I:F'I?NI):~N"1''S INl'I;IZRnCA'I
                                                                                  objects to each and every, all
 13          Objection. 11~`\'OVnTIVI: SPORTS M~~NnGLM~V'C. t\'C.
                                                                                       fi~llo~~•s: /lttorne~•-Client
 ~a and singular, of the items listed as Defendant's Interroeati~ry Na. 13 as
                                                                          the United States Constitution and the
 15  privilege; work product privilege; the privileges accorded under
                                            fifty states, the privileges accorded under the rights of privacy of
 ~s Constitutions of one or more of the
                                                                        SPORTS MANAGEMENT, INC., the
     third parties, including but not limited to, INNOVATIVI:
                                                                                              and parties ~vho are
     privilege s accorded other third parties, including but not limited to, those persons
 ~a
                                                                               papers and files, and each of the
    listed and described in the documents herein; th<<t the books, letters,
 19
                                                                                           e inlonnation which
    same, constitute proprietary information, constitute a trade secret, constitut
20                                                                                                  privacy and is j
    INNOVATIVE SPORTS MAN~1Gl:VIF;N"f, INC. has a reasonable expectation of
z~                                                                                                    inforn~ation.
    subject to a right of privacy; constitute secrets, forn~ulas, trade secrets, and business
n                                                                                                        document
    INNOVATIVE SPOKTS MnNAGEMENT,INC. furthermore objects on the basis that the
    request is overly broad, and moreover, seeks documents which arc extremely vol~unino~is.
23

za    fNNOVATIVC SPORTS MANAGEMI?NT,INC. also objects that some or all of'thcse books, letters,
25    gapers, and files, are available to the propounding party through other and alternative sources,
is    ncluding but not limited to, third parties herein. INNOVA'I'1VI: SPOR"I'S MANAGEMCN`I', INC.
z~    i)so objects on the basis of the rights of privacy ol~ third parties in that the person and parties herein
28    vould have a reasonable expectation of privacy thereunder. INNOVATIVE SPOR~~S


      LAMTIFF'S RESPONSCS TO DCPENUANT'S RIiQUEST SPF•.CIAL IN'TI:RROGATOKIGS
      ASG NO: 222-cv-07303-TJN-PI.A

                                                         12
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        MANAGCMI:NT, [NC. also objccts on the basis that the intcrrobatory socks inforn~ation that is
  z     iRelcvant and not proportional to the Words of the case.

  3

  a     DI;FN;N1)ANT'S 1NTI;ItROGATOItl' NO. lit:
                Plcasc indicate with detail what is your relationship with media rights
  5

  6
                                                                                             l~l:
        1'LA1\'l~~rr'S RI:SI'UNSI', TO I)EI~[:NUANT'S INTI?RItOCATORY NO.
  z
                Objection. Defendant's Intcrro~atory No. 14 is unintelligible.
  8                                                                                 cash and rvcry, all and
                1NI~UVA'I'1Vi; SI'OR"1'S i~9ANAGI:MI~N'1'. 1NC. li~rthcr objects to
  9                                                                                   : nttorncy-Client privilege;
       singular, of the items listed as I)efcndant's Intcnogatory No. 14 as follows
  ~o                                                                                        Constitution and the
       work product privilege; the privilc~es accorded under the United States
  ~i                                                                             d under the rights of privacy of
       Constitutions of one or more of tl~e fifty states, the privileges accorde
                                                                                   v1ANAGEMENT, INC., the
  ~2   third parties, including but not limited to, INNOVATIVE SPORTS
                                                                              those persons and panics ~vho are
  13   privileges accorded other third parties, including but not limited to,
                                                                                papers and files, and each of the
  ~a   listed and described in the documents heroin; that the books, letters,
                                                                          secret, constitute information which
  15   same, constitute proprietary information, constitute a trade
                                                                             ble expectation of privacy and is
  ~s   INNOVATIVE SPORTS MAI~'AGEMENT, ITIC. has a reasona
                                                                             secrets, and business information.
  ~~   subject to a right of privac~~; constitute secrets, formulas, trade
                                                                                  on the basis that the document
       INNOVA"f1VE SPORTS MANAGI;1l~i1:N'1', INC. furthermore objects
  18
                                                                                   are extremely voluminous.
       request is overly broad, and moreover, seeks documents which
  ~s
                                                                                    or all of these books, letters,
       INNOVATIVE SPORTS VIANAGI:M~NT,INC. also objects that some
 zo
                                                                                             alternative sources,
       papers, and files, arc available to the propounding party through other and
 2~                                                                                                      T, IiVC.
       includinb but not limited to, third parties heroin. INNOVATIVE SPORTS MANAG[:1~IEN
 22                                                                                                        heroin
       also objects on the basis of the rights oC privacy o1' third parties in that the person and parties
                                                                                                        SPQR"('S
       would have a reasonable expectation of privacy thereunder. (NNOVA"1'1V1:
 23

 za                                                                                                        that is
       MANAGCMIL'N"I', INC. also objects on the basis that the intcrrogaton~ seeks information
 25    irrelevant and not proportional to the needs ofthe case.
 zs     ~//
 z~     ~//
 zs    '//


       'I.A(1~1'I~r'S R~SI'ONSrS TO D~Ff:NDANT'S Rf:QUES"I'SPI:C1Af. I~''1'ERRUGA"1'ORIf:S
       'ASE NO: 2:22-c~-07303-1'111-PI.A

                                                               i3
Case 2:22-cv-07303-TJH-KS Document 44 Filed 05/12/23 Page 14 of 22 Page ID #:459




      ~    I)l~:Fl~:NI):~\7''S IN"1'l:illtOCA'i'O12Y NO. IS:
     z             Picric indicate with detail if yUU h~rvc ~► WUltl,i)WIDG liccnsc or only domestic licnsc to
     3     distribute the program mcntioncc! in the INCIi)I:N"1'

     4
     5     Yl,A1N"1'll~l~'S Itl~:til'ONtil~; '1'O U1~.1~1~,11)~V'Y'1''S IN'I'1~ ItltOCATUItI' NO. 1S:
                                                                                                      served nn
                 1'laintitl~ rcl'crs propounding party Defendant to Plaintiffs Initial Disclosures
     s
           n~«n,h~r 12, 202.
     7

     8
           nrt~r~nt~~~•~s ~~~~1•riiii~~c~~~rc~iiv,~~c~. i~~:
     9                                                                               to distribute the program
                   Please indicate with details ho~v did you obtain domestic license
 ~~        mentioned in the INCIDI:N'1'
 >>
                                                                   IN"17~:llilOCA"TOIll' `O. 11~:
 1z        PLAIVTIFF'S I21?SI'O\tit? "1'O I)I~:I~I:~D:~N'1''S
                                                                                 I1~'C. ohjects tc~ each and every, all
 13                 Objection. 1NNOVA'I'IVI: SPOIZ7'S ylAV~1G(NfI:N"I'.
                                                                          atory No. 16 as follows: Attorney -Client
 ~4        and singular, of tlic items listed as Defendant's Interrog
                                                                      d under the United States Constitution and the
 ~s        privilege; work product privilege; the privileges accorde
                                                                          es accorded under the rights of privacy of
 t6        Constitutions of one or more of the fifty states, the privileg
                                                                    AI7VE SI'OR'I'S VtANAGI:MGNT, INC., the
 ~~        third parties, including but not limited to, IIVNOV
                                                                   not limited to, those persons and parties who are
 18        privileges accorded other third parties, including bait
                                                               the books, letters, papers and tiles, and each of the
           listed and described in the documents herein; that
 19
                                                                 te a trade secret, constitute int~~rmation ~~~hich
           same, constitute proprietary inti~miation, constitu
 Zo                                                                               blc expectation ot~ pri~~acy and is
          II~'NOV~1"I'1V~ SPOR'1'S MANAGhN1L•'\'7', INC. has a rrasona
 z~                                                                                        and business information.
          subject to a right of privacy; constitute secrets, formulas, trade secrets,
 22                                                                                           basis that the document
          IiVNOVATIVr SPORTS MANAGGMrNT, 1NC. furthermore objects on the
 23                                                                                                    ly voluminous.
          request is overly broad, and moreover, seeks documents which arc extreme
 Z4                                                                                         books, letters,
          INNOVATIVE SPORTS MANAGEMENT, INC. also objects that some or all of these
                                                                                                  sources,
z5        papers, and files, arc available to the propounding party through other and alternative
2s        includinb but not limited to, third parties herein. INNOVA'1'f V1: SI'UR'I'S N1A~'AGI:MI:NT, INC.
2~        also objects on the basis of the rights of privacy of third parties in that tl~e person and parties herein
28        would have a reasonable expectation of privacy                 thercwider. INNOVATIVE            SPORTS



          PI.AfNT1FF'S RESPONSES TO DEFCNDANT'S REQUEST SPCCIAL INTERROGATORIES
          CASE NO: 2:22-cv-07303-T1Fl-PEA

                                                              14
Case 2:22-cv-07303-TJH-KS Document 44 Filed 05/12/23 Page 15 of 22 Page ID #:460




       MANAGEML'NT, INC. also objects on the basis that the intcrrobatory seeks information that is
  2    irrelevant and riot proportional to tlic needs oi'thc case.
  3

  a    DF.FENDAVI''S iNTl~:ltltOCA1'ORY ~'O. 17:

  5
               1'lcasc indicate ~vitl~ cictails what is the scope of the dorncstic license to distribute the program
       mentioned in t(~e INCIDI;N'I~
  s


       I'LrVI~'TII~F'S IZI~.SYO\SETO UI~;FIsND~1~i"T'S [,ti'I'CRItOGATOKY X10. 17:
  8
                                                                                                 served on
               Plaintif~~ refers propounding party llefendant to Plaintiff's Initial Disclosures
  9
       December 12,2022.
  ~o
  >>
       llEFE\llANT'S Ih"1'I;1t1ZnGA7'nitY VO. 18:
                                                                                             license to distribute
  12           Please indicate ~~~ith details what is the ~cogr~~phic limits of the domestic
  13   the program mentioned in the 1NCIDf:N"f
  ~a
                                                                               NO. 18:
  15   PLAIN'TIFF'S K[;SPONSI:TO DI~.f~I:N1)AN"1''S IN7'ERItOG:1TnRY
                                                                                             served on
  is         Plaintiff refers propounding party Defendant to Plaintil~'s Initial Disclosures
       December 12, 2022.

  18

  19
       ~~r.Fc~~nn.~•r'S INT(.iz~t~c~~~r~~it~~,~c~. ~~:
               Please indicate if you have a license to distribute in Latin America
  zo
  2~
       PLA11'TIFF'S RCSI'ONS(:7'O UI;FC~tiDA\T'S !1~"TI:KItOGATORI'\O. 19:
 2z
             Plaintiff' refers propounding party Defendant to Plaintiff's Initial Disclosures served on
 23
       December 12,2022.
 2a
 25    Dl:F1s1DAN"1''S INTERROCATOItI'NO.20;
 26           Please indicate if you have a license to distribute the program in Pcni
 z~    ///
 28    ///


       PLARv'"['1FF'S RESI'ONSf:S'I'O UEFEi~'DA~T'S RI:QUGST SPECIAL INTGRROGATORIGS
        ASE \10: 222-cv-07303-TlH-PLA

                                                           IS
Case 2:22-cv-07303-TJH-KS Document 44 Filed 05/12/23 Page 16 of 22 Page ID #:461




       PLAIN'1'll~l~'S It1~.SPO\51+;'1'O I)I~:I~I~;NI),~N'I''S 1N"I'I?ItltOCA'I'OItY NO.20:
                Plaintiff rcfcrs propounding parry Dcfcndant to !'lainlil'('s Initial Disclosures scrvcd on

 3     Dcccmbcr 12, 2022.

 4

       DI~,fCNDAN'1"S 1N'i'l~.ltllOCA'l'U12ti' NO.21:
 5
                                                                                                   besides the United
                I'iease indicate if~yoti have license to distribute the program in other country
 s
       States
 z

 8
                                                              I~;IlltOCA"1'ORY 1'U. 21:
       1'LAINTl1~F'S 1tl~:SP01S1;'1'O 1)t?F1~.11)r~NT'S 1N"I'
 s                                                                         Initial Uisciosures served on
              PlaintilT refers propounding party Dcl'cndant to Plaintili's
 ~o
       December 12, 2022.


 ~2   ~ n1:Fr~l~AN•r°s »~~ri:iziiocA~rc~~z~~ ~~.Zz:
                                                                    California
 13             PLease indicate ifyou have a permit to operate in
 14
                                                  1VT'S IN7'TKIZOGATOKl' NO.22:
 ~3    PLAI\"TIHF'S IZ1SNO\'51:7'U U(;1~EN1):
                                                                                                    d on
                                                       dant to Plaintiffs Initial Disclosures sen~e
 16          PlaintitT' refers propounding party Defen
       December 12,?022.

 18
                                              NO.23:
       Df;FEn1)AN7''S IN7TRRnGA7'ORY
 19
                                                    operate in Los Angeles County
            Please indicate if you have a permit to
 zo
z~                                              A~17''S I`''I'I:ItItOCA'1'OItY i\'O.23:
      PLAINTIFF'S I2F.SYONSE 7'O 1)l~:i~l?l~'ll
22                                                          to I'IaintilTs Initial Disclosures served nn
           Plaintiff refers propounding party Defendant
23
      December 12,2022.
24

25    DEFENDANT'S IN7'I;1tROGATORY \O.2~1:
2s        Please indicate what is your intention in filing this complaint
27     I/
       i~
28



       .AINTIFF'S RGSPONSES'I'O DT:fENUAN"f'S R~QUf:ST SPt;CIAL IfY7'LKROGA7'ORII:S
       ASE NO:222-cv-07303-TJli-PLA

                                                           16
              Case 2:22-cv-07303-TJH-KS Document 44 Filed 05/12/23 Page 17 of 22 Page ID #:462




       PLAIN'TIFF'S RESPOh'SI:TO Di?Fi;n'DAN"1''S(NTl?RRnCATnRY NO.24:
                  Plaintiff refers propounding party Defendant to Plaintiff's Initial Disclosures served on
       ~ December 12,2022.


       DI:FI:NI)ANT'S INTEItiZOGA7'ORY NO.25:
                                                                                crcatc on you the
               Please indicate names, address, phone numbers of the person ~vho
                                                                        INCIDENT
        perception that Defendant did something wrong in regards to the


                                                           INTI:KROC~'1'ORY Nn.25:
       I PLAINTIFF'S 1tl;SPU1'SE '1'O 1)I;FI;NUAYT'S
                                                                                                        ed on
                                   ound ing part y Defe ndan t to Plai ntif fs Initial Disclosures serv
              Plaintiff refers prop
       ~ December 12, 2022.


        ~ ni:F~nnAnT~s inT~~~:~t,t~c:~~~oity ~c~. ~~►:
                                                         file against hispanis        restaurants for Copyright
                   Please describe how many lawsuits you
        reasons?

' I                                                                               ItY NO. 2G:
~ i PLAINTIFF'S I2FSY0\'S1: ~ro »cFF.nDA1~T'S Ii~'TI:ItIZnGE1Tn
    I                                                                                                         s on
                              Inter roga tory viola tes Fed. R. Civ. P. 33(a)(1) in that it exceeds the limit
~ '           Objection. This

8       I
      Interrogatories.


                  ~s ~rrr~r~ziioc~~~rc~~zY `c~. 2~:
 9

,o ~ »FrF Nun ~~T
                                                                                              ~vho you
                                            you lia~~e obtained from all hispanic Restaurants
                   Please indicate ho~v much money
.~
        ~ sued for Copuyright reasons?
•2

                                                       T'S IN7TIZROGATORY NU. 27:
         I'LAlN7'IFF'S RESI'On'SC TO 1)I:rI;NllA1
'_ 3
                                                                                                             nn
                                                                   P. 33(a)(1) in that it exceeds the limits
               Objection. This Interrogatory violates Ped. R. Civ.
~q

?5       Intcrrobatories.
?s          ///
?7          111
~g          ~~~



                                                                                      ORfES
            'l.A1T~'TIF~'S RESPONSES TO DEFENDANT'S KC_QUEST SPECIAL, INTERIZOGA'1'
            'ASG NO: 223-cv-07303-T1N-PLA
    Case 2:22-cv-07303-TJH-KS Document 44 Filed 05/12/23 Page 18 of 22 Page ID #:463
           r



       ~    DEFF,~'DA11'T'S 1 NTI:IZROCATORI' NO.2K:

i      2            Please describe why do you think about any steps taken by the del'cndant, Gerardo Valdivia,
                                                                                                         ram.
      3     to prevent the alleged unlawful interception, rcccipt, and publication ofthe plaintiff's prog

      a
                                                                                  "1'ORl'NO.28:
      5     1'LAI1~'7'IHF'S RESI'O\'5~~,'I'O DEI'E\'UAN7''S 1N7'I:ItKOGA
                                                                                         that it exceeds the limits nn
                   Objection. '17iis lntcrro~atory ~~iolatrs Pcd. R. Civ. P. 33(a)(1) in
      s
            Intenogatorics.

      8
            1)F.FENDANT'S INTI;It1tOGATURY ~'O.29:
                                                                                                      to your
      9
                                               and comm unic atio n relat ed to any training provided
                  Please provide all documents
      ~o
            private investigators regardinb to the incident
      ~~
                                                                                          \O.29:
                                                               'S 11~7'f:ltltOC A"('ORl'
      1z    PLAINTIHF'S IZ(•'SPO\Si~ 7'O D1~FFNUAN'T                                                    the limits on
                                              on~ riola tes Ped. R. Civ. P. 33(x)(1) in that it exceeds
      13         Objection. "17iis lnterro~at

      ~4       Intcrro~;atories.
      15

      ~s       »rHrn'1)AN7''S INTERROCATORl'NO.30:                                                           INCIDENT
                                                           YOU to      monitor DEFFNDAN'1'related to tye
      17               I'Icase describe any steps taken by

      18                                                                                      \O.30:
                                                UF,FENI)~~,V'1"S IN'!'t:ItRO(::~"1'O121'
               PLAI`''TIFF'S RF.SPUNSI~:'1'O
                                                                                                         eds the limits on
      19
                                                          tes l ed. K. Civ. 1'. 33(x)(1) in that it exce
                     Objection. This Interrogatory ~~iola
      20
            Intcrro~atorics.
      z~
      2i                                            n0.31:
           DEFF,NDAN7''S INTI;ItttOGA7'O1ZY
      Z3                                                       mation of any employees or contractors of
                Please provide the names and contact infor
                                                             ion of the alleged unla~vfiil interception, receipt,
      Z4   PLAINTIFF ~vho ~ti~cre involved in the investigat
      25   and publication of the Plaintiffs program.
     26
                                                                                   Y \'U. 31:
     2~    PLAINTIFF'S RI:SPONSI; TO 1)(:H[?\~1)A:~i'1''S INTI?1Z1tUGATOIZ
                                                                                                 ds the limits nn
     28         Objection. This Interrogatory violates Fed. R. Civ. P. 33(x)(1) in that it excee
           Interrogatories.

           PLAINTIFF'S RESPONSES 70 DEFENQANT'S REQUEST SPECIAL INTERROGATORIES
           CASE :~'O: 2:22-cv-07303-TJFI-PI,A

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    Case 2:22-cv-07303-TJH-KS Document 44 Filed 05/12/23 Page 19 of 22 Page ID #:464
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     ~        1)N FENUAN7''S INTERftOGATORI'i~'O.32:
    2                 Please provide a!1 documents and communication related to the mana6ement and supervision
~   3         of P1.AlI`~~IFF, including an~~ documents or communication related to the al]c~cd unlawful
    a         interception, receipt, and publication of the plaintiffs program.

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                                                                               ATOlt1'NO.32:
              PLAINTirF'S ltl?SPONSF, Tn DI:I~I?\'DANT'S IN7'E1tROG
    s                                                                                                             on
                                                                                    in that it exceeds the limits
                   Objection. This Interrogatory violates Ped. R. Civ. !'. 33(a)(1)
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              Interrogatories.
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              n{?FI~.1~1)ANT'S INI'EItROGt17'OItY \0.33:
                                                                                                            ul
                                      any and  all contra cts or a~rcem ents relatcci to the alleged unlawf
    ~~               Please provide
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    ~~        interception, receipt, and publication of the plainti
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    13            1'LA1N1'IF F'S
                                                                                                        exceeds the limits on
                                    T7~is Interra ~;atory violate s red. R. Civ. P. 33(x)(1) in that it
    is                  Object ion.

     ~5           Interrogatories.

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                                         t120GA"I'OItY YO.3~3:
        ~~        llEFE11)A\'T'S IN'fEI
                                                        procedures in place at 1'LAIN'rIFP for this
                        Please describe any policies or
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                  INVESTIGATIONS
         19

         20                                                     ''S [N1'I:ItROGA'I'ORl'\'O. 3.1:
                  PLAINTIFF'S 1Z~SPONSI~. TO 1)i:FI;NUAN7
         s~                                                                          1) in that it exceeds the limits on
                       Objection. This Interrogatory violates Ped. R. Civ. P. 33(a)(
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                  Interrogatories.
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         za       ll1:FENDAn'f'S )NT[?RROGA'I'ORY NO.35:

         25               Please indicate how long your investigator Valentino was in the Restaurant TONDEIZO the
         2B       day of INCIULN"T
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                  PI.AI~ITIFF'S RESPONSES 7'O D~FE!~'bANT'S RIiQUES'I' SPF,CIAL fNTI:RRO(iATORtES
                  Ci1SE NO' 2:?2-cv-07303-T111-PLA

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Case 2:22-cv-07303-TJH-KS Document 44 Filed 05/12/23 Page 20 of 22 Page ID #:465




      ~     1'I,AI\'I'IMF'S ltl?SI'i)VSI?'I'O 1)1?FI;NUAN'1''S IN'1'I:Itlt()CA'I'()1tY N().35:
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  z                  Objection. 'I~tis lntcrmgatory violates I~cd. 1Z. Civ. P. 33(x)(1) in that it cxcccds the limits
  3         Intcrrc~~atorics.

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  5                                                                                             this t~~pc of
                     Please dc~cribc hc~~v many inv~sti~atc~rrs in order tc~ work ~~~ith you in
  6        im~cstigations and provide names, addresses, phone numtx:rs


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  8        1'I.AI~'I'IN1~'S RI:tiPONSI~ TO 1)1~ H1~:N1)~~NT'S I~\`7'N RI20(:A
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  9                Objection. 'I~his ]ntc~-rogatory violates l~cd. K. Civ. P. 33(a)(1)
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 15        NLAINTINF'S 1tN:5PUNSl?'t'O U1;N'F.NDAN"l''S
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  ~~       Interrogatories.
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          ('ASIi 1~0: 322-cv-07303=1'111-PI.A

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Case 2:22-cv-07303-TJH-KS Document 44 Filed 05/12/23 Page 21 of 22 Page ID #:466




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               I, nouc JACOI3S,declarc as follows:
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                                                                         and make this Verification
               I am the Yresidcnt of the Plaintiff in the subject action
   s                                                        Itl :SN  ONS ES 7'O DI?FI~;NUANT'S RI:QUCST
        behalf. I have read the foregoing PLAI N"1' IF(~ 'S
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   9                                                         contents thcreol: 7'hc matters
        SI'EClA1. Il~'TI:RROCA7'OKI~S and hno«~ the
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        foregoing► are true of~my own kno~vled~e except as
  ~o
                                                         ers,I believe them to be true.
        information and belief, and as to those matt
  ~t
                                                                                             of America that the
                  decl are  unde r pena lty of perju ry unde r the laws of the United States
  ~2            I
                                                                                      March 2           , 2023, in
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  13     forego ing
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        !.AINTIFP'S R[:SPONSGS TO DEFENDANT'S REQUEST' SPECIAL M"1'ERROGA"y'ORIGS
         ASE NO: 222-cv-07303-T111-YLA

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         Case 2:22-cv-07303-TJH-KS Document 44 Filed 05/12/23 Page 22 of 22 Page ID #:467
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i~                 I declare under the J~enalt~~ c~t~ ~~crjun~ pursuant to the 11~~~s of the United States that the
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